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   UNITED STATES OF AMERICA

                     IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF HAWAll

   UNITED STATES OF AMERICA,              )   CR. NO. 17-00101 LEK
                                          )
            Plaintiff,                    )   UNITED STATES'S RESPONSE TO
                                          )   DEFENDANT'S SECOND MOTION TO
      vs.                                 )   COMPEL; CERTIFICATE OF SERVICE
                                          )
   ANTHONY T. WILLIAMS (1),               )
                                          )
            Defendant.                    )
                                          )
  _________                               )

                      UNITED STATES'S RESPONSE TO
                 DEFENDANT'S SECOND MOTION TO COMPEL
               AND NINTH MOTION FOR ORDER TO SHOW CAUSE

         The government respectfully submits this response to Defendant Anthony T.

   Williams 's (Defendant) Second Motion to Compel (2d Motion to Compel). The

   defendant filed the 2d Motion to Compel as one of two related motions, together
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   with the Ninth Motion For Order To Show Cause (9th OSC Motion). See 2d Mot.

   Compel Exh. A, ECF No. 460-2. The 2d Motion to Compel seeks "the 2

   Terabyte[s] of discovery in [the government's] possession since November 2018,"

   and "demands that the discovery that are documents be sent to the undersigned in

   paper form" and "audio [or] video oriented [discovery]" "be sent in CD or DVD

   form." 2d Mot. Compel Exh. A at 1, ECF No. 459-2.

         In sum, the government made the complete forensic images from the

   working, accessible electronic devices that it seized from the defendant available to

   him through his standby counsel on January 23, 2019. Since then, the government

   has located the forensic images for two additional devices, as well as the results of

   searches that had been conducted earlier. These shall be promptly produced. The

   defendant is not entitled to any further processing of this data.

                                     BACKGROUND

         Because the discovery in this matter implicates some technical issues, we

   provide the following background for the Court's benefit.

         The Superseding Indictment arises out of a mortgage fraud scheme executed

   by the defendant in at least two states, Florida and Hawaii. FBI Miami Field

   Office (FBI Miami) and the Broward County Sheriff's Department conducted

   investigations of the defendant's conduct in the State of Florida, in parallel with

   the Federal Bureau of Investigation Honolulu Field Office's (FBI Honolulu)


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   investigation in the State of Hawaii. According to FBI Miami's reports, the

   following digital media were seized from the defendant during the course of the

   investigations conducted in Florida:

                1. Macbook Pro laptop, serial #C02PGF ASFVH3 (Item 1);

                2. Black WD "My Passport" hard drive, serial #WXBIA3305540
                   (Item 2);

                3. Black USB drive with blue tape (Item 3);

                4. Sandisk USB drive (Item 4 );

                5. Lexar 8GB USB drive (Item 5);

                6. Lexar 32GB USB drive (Item 6)

               7. Toshiba Hard Drive, serial #846ZSVC1STT1 (Item 7);

                8. WD Hard Drive, serial #WCC4E83TLT6C (Item 8);

               9. Sandisk Ultra 8GB Micro (Item 9);

                1O.Black Amazon Kindle (Item 1O);

                I I .Amazon device, model SR87CV 1D-2ACBF-6708 (Item 11 );

                12.Black iPhone model A13871D-BCG-E2430A (Item 12);

                13.White iPhone model A13491D-BCG-E2422A (Item 13);

         FBI Miami reports indicate that the above-listed items were seized pursuant

   to Federal warrants. In addition, FBI Miami obtained and served search warrants

   to Yahoo!, Inc., the e-mail service provider, for e-mail messages to and from two

   e-mail addresses, "troyceo" and "barbarawilliams2003" at yahoo dot com.

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         In order to search the above-referenced devices, the FBI created forensic

   images of the devices. Forensic imaging involves making a bit-for-bit copy of all

   data contained within each electronic device, including files, file metadata, files

   that were marked for deletion, and free space. Of the 13 devices seized in Florida,

   Items 1-9 listed above could be forensically imaged at the time of their seizure. 1

   Of the nine devices that could be imaged, FBI Miami imaged Items 1-8. Forensic

   examiners were not able to access and extract data from Items 10-13.

         The FBI searched the complete forensic images of each working, accessible

   device for files within the scope of the search warrants by boolanarking relevant

   files and creating a report of results for use in the investigation, which were

   captured on results disks. The results disks contained all files that were responsive

   to the search warrant, and were in a readable format.

         Sometime prior to September 2018, the FBI Miami discontinued its

   investigation. In Fall 2018, FBI Miami transferred all thirteen aforementioned

   electronic devices seized from the defendant to FBI Honolulu. Moreover, FBI

   Miami transferred forensic images of certain devices to FBI Honolulu.




   1
      Due to the fact that FBI Miami later closed its investigation of the defendant,
   final forensic examination reports were not generated in connection with the
   defendant's devices. In light of the potential relevance of these reports to
   discovery in this prosecution, FBI Miami will generate all necessary forensic
   examination report(s) of the defendant's digital media for production to defense.
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         A forensic examiner for FBI Honolulu copied the forensic images that were

   received onto a 3 terabyte (TB) external hard drive. The same examiner also

   forensically imaged another device, which had not previously been imaged, for the

   sole purpose of discovery and included this forensic image on the same 3TB hard

   drive. Finally, the FBI examiner also loaded onto the 3 TB hard drive all messages

   associated with the troyceo@yahoo.com email account that Yahoo sent to FBI

   Miami in response to the search warrant. After copying the digital files, the 3TB

   hard drive contained 2.146TB of data.

         On January 23, 2019, the government made the aforementioned 3TB hard

   drive available to all parties, and to defendant Anthony Williams, through his

   standby counsel, Lars Isaacson, Esq. Exhibit A. During the week of April 15,

   2019, counsel for the government reiterated its offer to make the aforementioned

   3TB hard drive available to the defendant through Mr. Isaacson, and informed him

   that the defendant's hard drive, as well as hard drives containing data seized from

   other defendants, had been prepared for him to pick up. Mr. Isaacson responded

   that we "leave him out of it," as the defendant was "not his client."

         The Bureau of Prisons (BOP) will not permit an incarcerated inmate such as

   the defendant to possess a stand-alone hard drive within the Federal Detention

   Center. However, the government has confirmed that the BOP will accommodate




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   the defendant by permitting him to review electronic evidence on hard drives at the

   FDC in the presence of his standby counsel. Exhibit B.

         In connection with its investigation to respond to this motion, the FBI

   Honolulu determined that the 3TB hard drive included only the forensic images for

   7 electronic devices (Items 1-6, and 9), and omitted the images for two others

   (Items 7 and 8). Moreover, the results disks of the prior FBI Miami searches had

   not been included as a result of an oversight.

                                      ARGUMENT

         The motion should be denied. The government has been in compliance with

   its discovery obligations, and will continue to be compliance as it uncovers

   additional information.

         At issue is a single 3TB hard drive that the government prepared, which

   contains forensic images of working, accessible devices that were seized from the

   defendant as part of the FBI's investigation into his mortgage· fraud conduct in

   Florida, as well as e-mail messages provided by Yahoo, Inc. in response to a search

   warrant. This hard drive has been available to the defendant through his standby

   counsel since January 23, 2019. Moreover, the government has located the

   forensic images for two additional devices and the reports of the warranted

   searches that were conducted upon the devices. The government will produce

   these promptly.


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   I.     The FBI Created And Made Available To The Parties Forensic Images
          Of Working, Accessible Electronic Devices Seized From The Defendant

         The govemment has complied with its discovery obligations with respect to

   the forensic images on the 3TB hard drive. As noted below, the forensic images

   themselves are not technically evidence or discoverable. In any event, the

   government has made the 3TB hard drive available to the defendant through his

   standby counsel.

         The government created and possessed forensic images of the defendant's

   devices to facilitate its wananted search of those devices. The seizure of electronic

   devices and creation of forensic images to conduct searches of electronic devices

   has been recognized and accepted by Federal courts. See United States v. Hay, 231

   F.3d 630, 637 (9th Cir. 2000) (upholding warrant authorizing seizure of a

   defendant's entire computer system because the circumstances justified taking the

   entire computer system off site because of the time, expertise, and controlled

   environment required for a proper analysis). The defendant's devices contained

   electronically stored information (ESI), which is "volatile" and "can be altered,

   overwritten or destroyed simply by running conflicting software or by conducting

   routine maintenance." Jave/er Marine Svcs. LLC v. Cross, 175 F.Supp.3d 756, 761

   (S.D. Tex. 2016). To preserve ESI for proper searching, the FBI created forensic

   images of the working, accessible seized devices, which are a "functional

   reproduction of the physical storage disk" and allows access to "any application

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   file or electronic document on the hard drive with all that document's original

   properties and metadata intact." Colosi v. Jones Lang LaSalle Ams., Inc., 781 F.3d

   293,297 (6th Cir. 2015).

         The forensic images that the government created fall outside the

   government's discovery obligations because they contain a substantial amount of

   information that is irrelevant to the prosecution and outside the scope of the search

   warrants obtained by the FBI. See, e.g. United States v. Gray, 78 F.Supp.2d 524,

   529 (E.D.Va. 1999) ("[S]earches of computer files present the same problem as

   document searches-the intermingling of relevant and irrelevant materials-but to

   a heightened degree because of the massive storage capacity of modern

   computers."). Indeed, specialized software and expertise is required to explore the

   data on these forensic images. See, e.g., United States v. Ganias, 824 F.3d 199 (2d

   Cir. 2016) ("Forensic software gives a forensic examiner access to electronically

   stored information (ESI) that is otherwise unavailable to a typical computer user.")

   (quoting Daniel B. Garrie & Francis M. Allegra, Fed. Judicial Ctr., Understanding

   Software, the Internet, Mobile Computing, and the Cloud: A Guide for Judges 39

   (2015)). Only the items viewed and copied pursuant to the warrants are "seized"

   for the purposes of the Fourth Amendment and are therefore discoverable. Cf

   Gray, 78 F.Supp.2d at 528 (discussing applicability of Fourth Amendment plain

   view exception to computer file search). Despite this, the government has made


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   the complete forensic images of six of the working, accessible electronic devices

   seized from the defendant available for all parties to copy and inspect.

         The fact that the government has made the forensic images available to ·the

   defendant through his standby counsel does not render the government

   noncompliant with its discovery obligations. All defendants have the same rights

   with respect to the forensic images that have been made availabl~. Although the

   defendant is incarcerated, he can access the forensic images through his standby

   counsel, or obtain the results of any analysis, just as any other defendant. The

   defendant cannot selectively use his standby counsel to file frivolous motions, and

   then refuse acceptance of discovery through his counsel to provide himself a basis

   upon which to file a motion to compel.

         Moreover, the defendant is not entitled to further processing of the above-

   referenced data and discovery by the government. See Df. 2d Mot. Compel Exh. A

   (demand for documents "in paper form" and "audio [or] video oriented" files in

   "CD or DVD form"). To the extent that the defendant, or any party, wishes to

   conduct his own analysis of the metadata or files that had been marked for deletion

   on the devices, he or she can petition the Comt for an expert to access and review

   the forensic images, either him/herself or through his/her counsel. Indeed, the

   government is not in a position to re-search the forensic images. The warrants

   pursuant to which the FBI conducted its searches were obtained in 2015, and


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    would likely not support another search today. Durham v. United States, 403 F.2d

    190, 193 (9th Cir. 1968) (affidavit must be based on facts "closely related to the

    time of the issue of the warrant ... to justify a finding of probable cause).

          In sum, the government has satisfied its discovery obligations with respect to

    the forensic images on the 3TB drive. In addition, as noted, the government

    recently located forensic images for two additional electronic devices, and will

    make these available to the defendant promptly.

    II.   The FBI Searched The Forensic Images For
          Relevant ESI And Created Reports Of Results

          The government will continue to comply with its discovery obligations in

    connection with the recently-discovered search results disks. As noted, FBI Miami

    conducted warranted searches of the forensic images of the six electronic devices

    that they had imaged. This process involves scanning the files on the forensic

    images, bookmarking relevant documents within the scope of the FBI's search

    warrants, and copying only those relevant documents onto a report of results.

    United States v. Defreitas, 701 F.Supp.2d 297, 307 (E.D.N.Y. 2010).

          As noted, the FBI has recently located the reports of results for the searches

    that were conducted upon the forensic images of six of the defendant's electronic

   devices. The reports of these previous searches results contain files in readable

   format that should be viewable by the defendant within the FDC. The government



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    does not dispute that these reports contain discoverable information, and will make

    these available to the defendant promptly.

    III.    The Government Has Made The Forensic Images Of
            The Electronic Devices It Seized Available For Inspection
            And Will Produce All Recently Discovered Search Results

            In sum, the government has complied with its discovery obligations and will

    continue to do so. For ease of review, the government sets forth below a chart of

    the devices that it seized from the defendant, the information-if any-that the

    government was able to obtain from each device, and whether the information was

    or will be made available to the defendant.

     #                Device               Forensic    Search of Image       Other
                                            Image      Completed and      Disposition
                                            Made       Report Created
      1    Macbook Pro laptop, serial     Yes, made          No
           #C02PGFASFVH3                   avail. To
                                          defendant
                                          1/23/2019
     2     Black WD "My Passport"         Yes, made      Yes, will be
           hard drive, serial             avail. To       produced
           # WXB 1A3305540                defendant
                                          1/23/2019
     3     Black USB drive with blue      Yes, made          No
           tape                           avail. To
                                          defendant
                                          1/23/2019
     4     Sandisk USB drive              Yes, made      Yes, will be
                                          avail. To       produced
                                          defendant
                                          1/23/2019
     5     Lexar 8GB USB drive            Yes, made      Yes, will be
                                          avail. To       produced


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                                      defendant
                                      1/23/2019
     6   Lexar 32GB USB drive         Yes, made   Yes, will be
                                      avail. To    produced
                                      defendant
                                      1/23/2019
     7   Toshiba Hard Drive, serial   Yes, will   Yes, will be
         #846ZSVC1 STTl                   be       produced
                                      produced
     8   WD Hard Drive, serial        Yes, will   Yes, will be
         #WCC4E83TL T6C                   be       produced
                                      produced
     9   Sandisk Ultra 8GB Micro.     Yes, made       No
                                      avail. To
                                      defendant
                                      1/23/2019
     10 Black Amazon Kindle              No           No         Will return
                                                                  device
     11 Amazon device, model             No           No         Will return
        SR87CV ID-2ACBF-6708                                      device
        ( described as a "laptop")

     12 Black iPhone model Al387         No           No
        ID-BCG-E2430A

     13 White iPhone model Al349         No           No
        1D-BCG-E2422A

     14 Yahoo, Inc. Warrant response Yes, made        No
        re troyceo@yahoo.com          avail. To
                                     defendant
                                     1/23/2019




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                                    CONCLUSION

         In light of the foregoing, the government respectfully requests that the Court

    deny the 2d Motion to Compel.

                      DATED: May 17, 2019, at Honolulu, Hawaii.


                                                 KENJI M. PRICE
                                                 United States Attorney
                                                 District of Ha a ·


                                                 ByQu           aris Yates
                                                    GREGG PARIS YA TES
                                                    Assistant U.S. Attorney




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                             CERTIFICATE OF SERVICE

        I hereby certify that, on the dates and by the methods of service noted below,

  a true and correct copy of the foregoing was served on the following at their last

  known address:

  Served via CM/ECF:

        Lars R. Isaacson, Esq.
        hawaii.defender@earthlink.net

        Attorney for Defendant
         ANTHONY WILLIAMS

 Served via Certified Mail:

        Anthony T. Williams
        Register No. 05963-122
        FDC Honolulu
        Federal Detention Center
        Inmate Mail
        POBox30080
        Honolulu, HI 96820

              DATED:        May 22, 2019, at Honol~awaii.

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                                                     United States Attorney's Office
                                                     District of Hawaii
